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                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF LOUISIANA

   IN RE:                                                             CASE NO. 17-11213

   FIRST NBC BANK HOLDING COMPANY                                     SECTION A

          DEBTOR                                                      CHAPTER 11


      EX PARTE MOTION TO CONTINUE HEARING ON CONFIRMATION OF JOINT
                   CHAPTER 11 PLAN OF REORGANIZATION



          NOW INTO COURT, through undersigned counsel, comes First NBC Bank Holding

   Company (the “Debtor”) who moves this Court, to briefly continue the hearing on confirmation of

   the Second Amended Joint Chapter 11 Plan of Reorganization for First NBC Bank Holding

   Company [P-621] (the “Joint Plan”) from the current hearing date of January 23, 2020. In support

   thereof, the Debtor avers as follows:

                                                   1.

          On July 2, 2019, the Debtor and the Committee (collectively, “Plan Proponents”) filed the

   Joint Plan; and, on the same date, the Debtor filed an accompanying disclosure statement [Doc.

   622] (“Disclosure Statement”).

                                                   2.

          The Court entered the Order Approving Second Amended Disclosure Statement, Fixing

   Time for Filing Acceptances or Rejections to the Second Amended Chapter 11 Plan of

   Reorganization, and Setting Confirmation Hearing [P-624] on July 3, 2019, fixing the

   confirmation hearing (“Confirmation Hearing”) on the Joint Plan for August 7, 2019 at 10:00 a.m.

   Pursuant to a subsequent order [Doc. 766] entered on October 2, 2019, the Court continued the

   confirmation hearing until November 13, 2019, and, thereafter, to January 14, 2020, and thereafter
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   on Unopposed Motion of the Debtor, continued the hearing until the current date of January 23,

   2020.

                                                    3.

           Nexxus Holdings, Inc. (“Nexxus”), a major proposed non-insider investor in First Phoenix

   SPV, LLC, which is to provide a large portion of the funding for the Plan, has requested that the

   confirmation hearing be postponed until a date on or after March 2, 2020, so that it can complete

   its due diligence process in connection with the investment. Until it completes that process,

   Nexxus is unwilling to fully commit to providing the $3 million in funding anticipated.

                                                    4.

           The additional delay is in large part due to family health issues suffered by the lead actor

   in a consulting firm engaged to assist the Debtor and Nexxus in the due diligence process. The

   consultant believes that the family health issues will be resolved before March 2nd and no more

   requests to postpone the hearing beyond the next scheduled date are contemplated by the Debtor

   or Nexxus.

                                                    5.

           However, to demonstrate both the seriousness of its intentions and its ability to provide the

   funding, Nexxus has agreed, through counsel, to place a 10% deposit in the amount of $300,000

   by January 23, 2020, to be held in escrow by Debtor’s counsel so long as the confirmation hearing

   is continued to a date on or after March 2, 2020.

                                                    6.

           Although the Nexxus deposit will remain largely fully refundable during the interim,

   having the deposit in hand is an important next step in assuring that the funding needed for the
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   Joint Plan will be available if the Joint Plan is confirmed and when the Effective Date of the Joint

   Plan occurs.

                                                     7.

          Debtor’s counsel has contacted counsel for the sole objector to confirmation of the Joint

   Plan, the United States Department of Treasury, as well as counsel for the Official Committee of

   Unsecured Creditors of First NBC Bank Holding Company (the “Committee”) and neither opposes

   the proposed continuance. Counsel also has emailed counsel for the United States Trustee’s office

   but has received no response likely due to the upcoming holiday weekend.

                                                     8.

          The Debtor asserts that the brief continuance requested will not result in prejudice to any

   party, and will instead facilitate plan confirmation and distribution to creditors.

          WHEREFORE, the Debtor prays that this Court continue the hearing on confirmation of

   the Joint Plan from the current hearing date of January 23, 2020, to the next available date on or

   after March 2, 2020 at 2:00 p.m.; and, for any such other relief deemed equitable and just.

                                                  Respectfully Submitted;

                                              By: /s/ WILLIAM E. STEFFES
                                                 WILLIAM E. STEFFES (#12426)
                                                 BARBARA B. PARSONS (#28714)
                                                 THE STEFFES FIRM, L.L.C.
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                                                 Email: bsteffes@steffeslaw.com

                                                  Counsel for Debtor
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                                UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF LOUISIANA

   IN RE:                                                                          CASE NO. 17-11213

   FIRST NBC BANK HOLDING COMPANY                                                  SECTION A

           DEBTOR                                                                  CHAPTER 11

                                         CERTIFICATE OF SERVICE
           I HEREBY CERTIFY that a copy of the forgoing Unopposed Ex Parte Motion to

   Continue Hearing on Confirmation of Joint Plan of Reorganization has been served via E-mail

   through this Court’s CM/ECF Electronic Notification System to the following parties:

   Sam J. Alberts on behalf of Interested Party Federal Deposit Insurance Corporation (FDIC) as Receiver for First
   NBC Bank sam.alberts@dentons.com

   Serajul Ferdows Ali on behalf of Interested Party United States of America/Treasury serajul.ali@usdoj.gov

   A. Brooke Watford Altazan on behalf of Creditor Committee Official Unsecured Creditors' Committee
   baltazan@stewartrobbins.com

   Brian M. Ballay on behalf of Interested Party Directors and Former Directors Group
   bballay@bakerdonelson.com

   Jerry A. Beatmann on behalf of Interested Party Federal Deposit Insurance Corporation (FDIC) as Receiver for First
   NBC Bank jay.beatmann@dentons.com

   Ward Benson on behalf of Interested Party United States of America on behalf of the Internal Revenue Service
   ward.w.benson@usdoj.gov, southern.taxcivil@usdoj.gov

   Nicholas H. Berg on behalf of Interested Party Lawrence Blake Jones nberg@reasonoverllc.com

   Brandon A. Brown on behalf of Creditor Committee Official Unsecured Creditors' Committee
   bbrown@stewartrobbins.com

   Christopher T. Caplinger on behalf of Creditor Lead Plaintiffs in Securities Class Action ccaplinger@lawla.com

   Edward Castaing, Jr. on behalf of Interested Party Ryan J. Ashton ecastaing@cclhlaw.com

   Robin B. Cheatham on behalf of Creditor Florida Parishes Bank cheathamrb@arlaw.com

   Leo D. Congeni on behalf of Interested Party Doug Smith, derivatively and on behalf of First NBC Bank Holding
   Company leo@congenilawfirm.com

   Nancy Scott Degan on behalf of Interested Party Directors and Former Directors Group
   ndegan@bakerdonelson.com

   Jonathan Edwards on behalf of Interested Party Mary Beth Verdigets and Jonathan.Edwards@alston.com
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   Elizabeth J. Futrell on behalf of Creditor David W. Anderson efutrell@joneswalker.com

   Amanda Burnette George on behalf of U.S. Trustee Office of the U.S. Trustee amanda.b.george@usdoj.gov

   Aaron Benjamin Greenbaum on behalf of Interested Party Mary Beth Verdigets aaron.greenbaum@pjgglaw.com

   Jan Marie Hayden on behalf of Interested Party Lawrence Blake Jones jhayden@bakerdonelson.com

   John M. Landis on behalf of Creditor Gregory St. Angelo jlandis@stonepigman.com

   Michael E. Landis on behalf of Creditor Renewal Capital Company, LLC mlandis@gamb.law

   Alysson Leigh Mills on behalf of Interested Party Ryan J. Ashton amills@fishmanhaygood.com

   Andrew M Reidy on behalf of Interested Party Federal Deposit Insurance Corporation (FDIC) as Receiver for First
   NBC Bank areidy@lowenstein.com

   Ryan James Richmond on behalf of Creditor Committee Official Unsecured Creditors' Committee
   rrichmond@stewartrobbins.com

   Lacey E Rochester on behalf of Interested Party Directors and Former Directors Group
   lrochester@bakerdonelson.com

   David Rubin on behalf of Other Prof. Interested Party drubin@kswb.com

   Susan R. Sherrill-Beard on behalf of Interested Party U.S. Securities and Exchange Commission
   sherrill-beards@sec.gov

   Paul Douglas Stewart, Jr. on behalf of Creditor Committee Official Unsecured Creditors' Committee
   dstewart@stewartrobbins.com

   Office of the U.S. Trustee USTPRegion05.NR.ECF@usdoj.gov

   R. Patrick Vance on behalf of Creditor David W. Anderson pvance@joneswalker.com

   Stephen L. Williamson on behalf of Creditor Renewal Capital Company, LLC swilliamson@gamb.law

           I hereby further certify that a copy of the motion has been served upon all creditors and

   interested parties who do not receive notice through this Court’s CM/ECF Electronic Notification

   System, as shown on the attached mailing list, by depositing same in the U.S. Mail, postage prepaid

   and properly addressed.

           Baton Rouge, Louisiana, this 17th day of January, 2020.

                                            /s/ Samantha J. Chassaing
                                              Samantha J. Chassaing
